Case 2:21-cr-00039-RCY-LRL Document 43 Filed 08/31/21 Page 1 of 4 PagelD# 361

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Norfolk Division
UNITED STATES OF AMERICA
Vv. CRIMINAL NO.; 2:27¢r39
LORI ANN TALENS

Defendant.

POSITION OF THE DEFENDANT, LORI ANN TALENS,
WITH RESPECT TO SENTENCING FACTORS

 

COMES NOW the defendant, Lori Ann Talens, by counsel, and states as follows for her
position on sentencing:

The Defendant and counsel have reviewed and discussed the pre-sentence report. There is
no minimum mandatory sentences in this case and the Defendant agrees that the proper advisory
guideline range is 188-235 months. For the reasons set forth below, the defense contends that a
variant sentence that is substantially below the guidelines is appropriate.

A. The Defendant's Background

The Defendant's history and background is set forth in summary fashion in paragraphs
49-87 of the pre-sentence report. The Defendant will supplement this information in a letter fo the
Court. Ms. Talens has been the victim of a very tumultuous and at times, violent and abusive marriage.
There is no way to fully and accurately assess the emotional and mental toll this type of relationship
has had on her but the stress and anxiety of being in such a relationship cannot be overstated. This

Page 1 of 4
Case 2:21-cr-00039-RCY-LRL Document 43 Filed 08/31/21 Page 2 of 4 PagelD# 362

is not an excuse for her conduct in this case but is certainly a matter the Court should consider in
fashioning a sentence.

The Court should also consider the fact that Ms. Talens is highly intelligent and has great
potential to be a positive influence on her children and the community if she channels and uses her
intelligence and skills in a productive way.

The impact of a lengthy sentence on Ms. Talens’ young children will be devastating to them
both in the immediate future and long term. |tis probably impossible to understand and calculate with
any certainty the impact that having both their parents incarcerated will have on the children. There
is a point at which punishment via incarceration serves no legitimate rehabilitative purpose and
becomes destructive to any real opportunity for a person to re-enter society with a reasonable
opportunity to become a productive citizen.

Finally, the Court should consider that the Defendant immediately and fully accepted
responsibility when she was arrested. She pled guilty to a criminal information and saved the
prosecution and the Court a lot of time and resources. in addition, she has provided extremely
valuable information to the investigative authorities about the rather murky world of counterfeit
couponing. She has not just answered questions but has met for hours and hours on multiple
occasions with investigators explaining and detailing the methods and people involved in couponing
schemes across the country. Her cooperation is on-going up to and after her sentencing. Counsel is
fully aware that the United States has the option to file a motion under Rule 35 to request a reduced

sentence and fully expects that will happen. That being said, there is nothing that prevents the Court

Page 2 of 4
Case 2:21-cr-00039-RCY-LRL Document 43 Filed 08/31/21 Page 3 of 4 PagelD# 363

from taking into account a defendant's willingness to cooperate and the nature and extent of that

cooperation at all stages of the sentencing process including the initial disposition.

Lastly, the Court should take into account the need to avoid unwarranted sentencing disparities.

Based on counsel’s research, the advisory guideline range in this case is one of the highest, if not the

highest, in any prosecution for a prosecution involving fake coupons.

The defense will present additional arguments at the sentence hearing and contends that a

sentence below the guidelines will be sufficient but not greater than necessary un the 18 U.S.C. §

3593.

Respectfully submitted,

LORI ANN TALENS

/s/

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Page 3 of 4
Case 2:21-cr-00039-RCY-LRL Document 43 Filed 08/31/21 Page 4 of 4 PagelD# 364

CERTIFICATE OF SERVICE

 

| hereby certify that on the 31“ day of August, 2021, | electronically filed the foregoing with the
Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF) to the
following:

Joseph L. Kosky, Esquire
Assistant United States Attorney
Attorney for the United States
8000 World Trade Center

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And, | hereby certify that | have emailed the documents to the following non-filing user:

Tara R. Gill, Probation Officer
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Newport News, VA 23606

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/s/

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Page 4 of 4
